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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-332 GEB

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER

14   TINA MARIE BINI,
     ,
15
                                    Defendant.
16

17
                                                   STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant Tina
19
     Marie Bini, by and through her counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for status on July 25, 2014.
21
            2.       By this stipulation, defendants now move to continue the status conference until August
22
     29, 2014 and to exclude time between July 25, 2014 and August 29, 2014 under Local Code T4. The
23
     United States does not oppose this request.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The United States has represented that the discovery associated with this case
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     includes investigative reports and wiretap applications in electronic form constituting approximately
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     4000 pages of documents. The United States also represents that the discovery includes approximately
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      Stipulation and Proposed Order re: Continuance of   1
      Status Hearing and Exclusion of Time
30
                 Case 2:13-cr-00332-DAD Document 35 Filed 07/24/14 Page 2 of 3


 1 20 CDs of audio recordings, including intercepted communications, and transcripts and line reports. All

 2 of this discovery has been produced directly to counsel.

 3                   b)     On or around June 20, 2014, the United States provided a plea offer to counsel for

 4 the defendant at the defendant’s request.

 5                   c)     Counsel for defendant desires additional time to consult with his client, to conduct

 6 investigation and research related to the charges, to review discovery for this matter, to discuss potential

 7 resolutions with his client, and to otherwise prepare for trial.

 8                   d)     Counsel for defendant believes that failure to grant the above-requested

 9 continuance would deny him the reasonable time necessary for effective preparation, taking into account

10 the exercise of due diligence.

11                   e)     The United States does not object to the continuance.

12                   f)     Based on the above-stated findings, the ends of justice served by continuing the

13 case as requested outweigh the interest of the public and the defendant in a trial within the original date

14 prescribed by the Speedy Trial Act.

15                   g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16 et seq., within which trial must commence, the time period of July 25, 2014 to August 29, 2014,

17 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it

18 results from a continuance granted by the Court at defendants’ request on the basis of the Court’s

19 finding that the ends of justice served by taking such action outweigh the best interest of the public and

20 the defendant in a speedy trial.

21          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

22 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

23 must commence.

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      Stipulation and Proposed Order re: Continuance of    2
      Status Hearing and Exclusion of Time
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             Case 2:13-cr-00332-DAD Document 35 Filed 07/24/14 Page 3 of 3


 1        IT IS SO STIPULATED.

 2 Dated: July 24, 2014                                      BENJAMIN B. WAGNER
                                                             United States Attorney
 3
                                                             /s/ Todd A. Pickles
 4                                                           TODD A. PICKLES
                                                             Assistant United States Attorney
 5

 6 Dated: July 24, 2014                                      /s/ Todd A. Pickles for
                                                             DANIEL KOUKOL, ESQ.
 7                                                           Counsel for Defendant Tina Bini

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10                                                   ORDER

11        IT IS SO FOUND AND ORDERED.

12 Dated: July 24, 2014

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     Stipulation and Proposed Order re: Continuance of   3
     Status Hearing and Exclusion of Time
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